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                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

IN RE:                                           :          CASE NO. 18-62370-WLH
                                                 :
CONNIE SANDERS,                                  :          CHAPTER        7
                                                 :
         Debtor.                                 :


 MOTION TO APPROVE SETTLEMENT AGREEMENT UNDER RULE 9019 OF THE
            FEDERAL RULES OF BANKRUPTCY PROCEDURE

         COMES NOW S. Gregory Hays, as Chapter 7 Trustee (the “Trustee”) for the bankruptcy

estate of Connie Sanders (“Debtor”), by and through undersigned counsel, and moves, under

Rule 9019 of the Federal Rules of Bankruptcy Procedure, for approval of a settlement agreement

between Trustee; Debtor; Deene J. Sanders (“Mr. Sanders”); S&S Commercial Contractors, Inc.

(“S&S); 21st Century Enterprises, Inc. (“21st Century”); CD Sanders Enterprises, Ltd. (“CD

Sanders”); Sanders Enterprises Inc. (“Sanders Inc.” and with Mr. Sanders, Debtor, S&S, 21st

Century, and CD Sanders, the “Sanders Parties”); King III SBW, LLC (“King III”); Mighty

Oak Group, LLC (“Mighty Oak”); KMMP Homes, LLC (“KMMP”); William Brannen, Jr.

(“Mr. Brannen”); and Kathy Pecora (“Ms. Pecora” and with King III, Mighty Oak, KMMP,

and Mr. Brannen, the “Cobb County Parties”; and with Trustee, Mr. Sanders, Debtor, S&S,

21st Century, CD Sanders, Sanders Inc., King III, Mighty Oak, KMMP, and Mr. Brannen, the

“Parties”). In support of this motion, Trustee respectfully shows the Court as follows:

                                      Jurisdiction and Venue

         1.        This motion is a core proceeding under 28 U.S.C. § 157(b)(2). This Court has

jurisdiction over this motion under 28 U.S.C. §§ 157 and 1334. Venue of this case in this

District is proper under 28 U.S.C. §§ 1408 and 1409.




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                                          Background

                                     a. General Background

         2.    On July 26, 2018 (the “Petition Date”), Debtor filed a voluntary petition for relief

under Chapter 7 of Title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (as amended,

modified, or supplemented, the “Bankruptcy Code”) in the United States Bankruptcy Court for

the Northern District of Georgia, Atlanta Division (“Bankruptcy Court”), initiating Chapter 7

Case No. 18-62370-WLH (the “Bankruptcy Case”).

         3.    Trustee was thereafter appointed and remains the duly acting Chapter 7 trustee in

this Bankruptcy Case.

         4.    At the commencement of the Bankruptcy Case, a bankruptcy estate was created

pursuant to 11 U.S.C. § 541(a) (the “Bankruptcy Estate”), and that Bankruptcy Estate includes

all Debtor’s legal or equitable interests in property as of the commencement of the Bankruptcy

Case and any interest in property that the Bankruptcy Estate acquires after commencement of the

Bankruptcy Case. 11 U.S.C. § 541(a)(1) and (7) (2018). Trustee is the sole representative of the

Bankruptcy Estate. 11 U.S.C. § 323(a) (2018).

                                 b. Debtor’s Business Interests

         5.    On her Schedule A/B, Debtor scheduled her sole ownership interest in S&S.

[Doc. No. 10 at page 7 of 57]. And, on her original Statement of Financial Affairs (“SOFA”),

Debtor indicated that she was an officer, director, or managing executive of S&S. [Doc. No. 10

at page 44 of 57].

         6.    On October 29, 2018, Debtor amended her SOFA to indicate that, in addition to

serving as an officer of S&S, she is also an officer, director, or managing executive of CD

Sanders and Sanders Inc. [Doc. No. 35 at pages 1, 4, and 5 of 5], but she did not indicate an



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ownership interest in these entities. Debtor maintains that she does not have an ownership

interest in these entities.

                                       c. The Cobb County Lawsuit

         7.        Upon information and belief, King III was formed in October of 2012 for the

sole purpose of constructing and selling a single family home located at 11755 King Road,

Roswell, Georgia (the “King Property”).

         8.       With respect to the King Property, disputes arose over construction of

improvements on that property and those disputes resulted in a lawsuit currently pending in Cobb

County Superior Court, Civil Action File No. 15-1-1531 (the “Cobb County Lawsuit”).

         9.       The King Property sold and that sale resulted in net proceeds of $450,000.00 (the

“Registry Funds”), which have been paid into and remain in the registry of the Cobb County

Superior Court.

         10.      Mighty Oak joined the Cobb County Lawsuit as a third-party plaintiff/defendant

and, in December 2016, was granted summary judgment against Debtor, Mr. Brennan and

KMMP. On January 5, 2017, Mighty Oak received an Amended Order of the same judgment in

the amount of $182,040.00 through the date of the Order and reserving attorney’s fees (the

“Amended Order”).

         11.      Following a motion to set aside or amend filed by Debtor and S&S on April 18,

2018, the trial court entered another order granting Mighty Oak additional interest and attorney’s

fees leading to a total judgment of $242,245.00 (the “Judgment”), but it clarified that the

Judgment was only against Debtor, Mr. Brannen, and Ms. Pecora and not S&S or King III.

             d. Transfer of $650,000.00 Note and Security Deed from S&S to CD Sanders

         12.      As part of his investigation of Debtor’s financial affairs, Trustee asserts that on or



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about March 25, 2010, S&S (owned solely by Debtor) received a sole ownership interest in that

certain real property with a common address of 1880 West Oak Parkway, Ste. 112, Marietta,

Georgia 30062 (the “West Oak Property”). Debtor asserts that this interest was never meant to

be owned by S&S and was transferred into its name in error. Upon information and belief, the

West Oak Property was owned free and clear.

         13.    On or about January 30, 2017, S&S sold the West Oak Property to KB Marietta

LLC for a sale price of $650,000.00. Upon information and belief, as part of this transaction,

S&S received a note from KB Marietta LLC in the amount of $650,000.00 (the “Note”) and took

a security interest in the West Oak Property (the “West Oak Security Interest”) through a

security deed (the “West Oak Security Deed”) to secure repayment of the Note.

         14.    On or about February 10, 2017, S&S transferred the West Oak Security Deed to

CD Sanders via an Assignment of Security Interest (the “Assignment”). Upon information and

belief, KB Marietta LLC pays $4,500.00 per month as a result of the Note. Debtor asserts that

the Assignment was executed to rectify the mistake in ownership that was in place at the time of

the sale.

         15.    Disputes (the “Disputes”) have arisen between the Parties regarding how the

Registry Funds should be divided and whether the Assignment is avoidable and recoverable by

Trustee on behalf of the Bankruptcy Estate.

                                       e. The Mediation

         16.    On July 22, 2020, the Bankruptcy Court entered an order authorizing the Parties

to mediate the Disputes through a mediation hosted by the Honorable Mary Grace Diehl (the

“Mediation”).




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                           f. Timely Filed Claims against the Estate

         17.   The total of the timely filed, unsecured claims against the Bankruptcy Estate is

$11,877.69.

                                   The Proposed Settlement

         18.   As a result of the Mediation, the Parties have entered into a settlement agreement

(the “Settlement Agreement”) that resolves the Disputes. A true and correct copy of that

Settlement Agreement is attached to this motion and incorporated herein by reference as Exhibit

“A” (the “Settlement Agreement”). The material terms of the Settlement Agreement follow:1

                  a. After the Settlement Approval Order becomes final, Mr. Sanders shall pay
                     a total of $24,500.00 (the “$24,500.00 Settlement Funds”) in good funds
                     to Trustee.2

                  b. Within ten (10) business days of the Settlement Approval Order becoming
                     a final order, Trustee, Mr. Sanders, S&S, Mr. Brannen, King III, Mighty
                     Oak, and any other Party deemed necessary, shall file a motion in the
                     Cobb County Lawsuit, requesting that the Superior Court of Cobb County
                     enter an order directing the Clerk of Court for the Superior Court of Cobb
                     County to distribute the Registry Funds, as follows:

                          i. $25,500.00 of the Registry Funds shall be paid to Trustee for the
                             benefit of the Bankruptcy Estate (the “$25,500.00 Registry
                             Funds”). For the avoidance of doubt, the Parties stipulate and
                             agree that the $25,500.00 Registry Funds shall be free and clear of
                             any liens, claims, or interests, including any exemption asserted by
                             or on behalf of Debtor, and be available for Trustee to distribute in
                             accordance with the Bankruptcy Code; and

                          ii. The remainder of the Registry Funds (the “Remaining Registry
                              Funds”), in the approximate amount of $424,500.00, shall be paid
                              to Mighty Oak, King III, Mr. Brannen, and Ms. Pecora to be
                              divided as Mighty Oak, King III, Mr. Brannen, and Ms. Pecora
                              deem appropriate. For the avoidance of doubt, Mr. Sanders,

1
       The following is a summary of the Settlement Agreement and is not intended to be
comprehensive. To the extent that anything in this summary is contrary to the terms of the
Settlement Agreement, the terms of the Settlement Agreement shall control.
2
        Capitalized terms not defined in this motion shall have the meanings ascribed to them in
the Settlement Agreement.

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                             Trustee, S&S, Sanders Inc., CD Sanders, and 21st Century hereby
                             release all liens, claims, and interests in the Remaining Registry
                             Funds, if any. For the further avoidance of doubt, Trustee hereby
                             releases any claim that Debtor, and thus the Bankruptcy Estate,
                             may have to a distribution from King III as to the Remaining
                             Registry Funds. Finally, and again, for the avoidance of doubt,
                             Mr. Sanders and Debtor shall cause any other entity that they own
                             to release all liens, claims, and interests in the Remaining Registry
                             Funds.

                  c. Within ten (10) business days of the Clerk of Court for the Superior Court
                     of Cobb County distributing the Registry Funds in accordance with
                     Section 2.3 of the Settlement Agreement, the Parties shall file a stipulation
                     dismissing the Cobb County Lawsuit with prejudice.

                  d. Within ten (10) business days of the Settlement Approval Order becoming
                     a final order, the Cobb County Parties shall release or cancel any lis
                     pendens, liens, or judgment liens that Mighty Oak, King III, KMMP, Mr.
                     Brannen, or Ms. Pecora may have against Debtor, Mr. Sanders, or any
                     entity owned by Debtor or Mr. Sanders arising from the Cobb County
                     Lawsuit.

                  e. Mr. Brannen, King III, and KMMP release any claim that they have filed
                     against the Bankruptcy Estate in the Bankruptcy Case. For the avoidance
                     of doubt, within ten (10) business days of the Settlement Approval Order
                     becoming a final order, Mr. Brannen shall withdraw Claim No. 6 filed in
                     the Bankruptcy Case, King III shall withdraw Claim No. 7 filed in the
                     Bankruptcy Case, and KMMP shall withdraw Claim No. 8 filed in the
                     Bankruptcy Case.

                  f. The Parties stipulate and agree that neither the Sanders Parties nor the
                     Cobb County Parties shall have a claim in the Bankruptcy Case against the
                     Bankruptcy Estate for or on account of payment of all or any portion of
                     the $24,500.00 Settlement Funds or the $25,500.00 Registry Funds, or for
                     any reason, and that neither the Sanders Parties nor the Cobb County
                     Parties, nor any of their affiliates, agents, principals, or subsidiaries shall
                     receive a distribution from the Bankruptcy Estate.

                  g. The Parties grant broad and general releases to one another; provided,
                     however, that neither the Bankruptcy Estate nor Trustee is providing
                     Debtor a release.

                                       Relief Requested

         19.   Trustee requests an order from the Bankruptcy Court approving the Settlement



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Agreement.

                                         Basis for Relief

         20.   Rule 9019(a) provides, in pertinent part, that “[o]n motion by Trustee and after

notice of a hearing, the court may approve a compromise or settlement.” Fed. R. Bankr. P.

9019(a). The standard in this Circuit for determining whether to approve a compromise or

settlement pursuant to Rule 9019(a) is set forth in Wallis v. Justice Oaks II, Ltd. (In re Justice

Oaks II, Ltd.), 898 F.2d 1544 (11th Cir. 1990), cert. denied, 498 U.S. 959 (1990), in which the

Eleventh Circuit stated as follows:

         When a bankruptcy court decides whether to approve or disapprove a proposed
         settlement, it must consider:

               (a) The probability of success in the litigation; (b) the difficulties,
               if any, to be encountered in the matter of collection; (c) the
               complexity of the litigation involved, and the expense,
               inconvenience and delay necessarily attending it; (d) the
               paramount interest of the creditors and a proper deference to their
               reasonable views in the premises.

Id. at 1549. In making its evaluation, a court must not rest its approval of the settlement on a

resolution of the ultimate factual and legal issues underlying the compromised disputes. In re

Teltronics Servs., Inc., 762 F.2d 185, 189 (2d Cir. 1985). Rather, the court should consider the

probable outcome of the litigation, including its advantages and disadvantages, and make a

pragmatic decision based on all equitable factors. Florida Trailer and Equip. Co. v. Deal, 284

F.2d 567, 571 (5th Cir. 1960).3

         21.   The proposed Settlement Agreement between the Parties is the product of arms’

length negotiations conducted at a mediation overseen by the Honorable Mary Grace Diehl, and



3
        In Bonner v. City of Prichard, 661 F.2d 1206, 1207 (11th Cir. 1981) (en banc), the
Eleventh Circuit Court of Appeals adopted as binding precedent the decisions of the former Fifth
Circuit issued before October 1, 1981.

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it reflects the Parties’ analysis and consideration of the relevant legal, factual, and economic

issues.

          22.   Given the potential time and expense of litigating the Disputes, and the contingent

nature of the same, in the event that the claims that are proposed to be settled are instead

prosecuted, the amount of time that such litigation will require, the delay before the final

outcome is known (including potential appeals), and the complexity and uncertain resolution of

factual and legal disputes, settlement on the terms described in the Settlement Agreement is a

proper exercise of Trustee’s business judgment and in the best interests of the Bankruptcy Estate.

In fact, Trustee estimates that litigating the Disputes could take months, if not years, and could

cost the Bankruptcy Estate tens (if not hundreds) of thousands of dollars in additional

administrative expenses, without any certainty of a favorable outcome. The proposed Settlement

Agreement allows the Bankruptcy Estate to avoid these costs (and risks) and creates $50,000.00

in free and clear funds that Trustee will distribute to unsecured creditors, whether priority or non-

priority, in accordance with the priority scheme established by the Bankruptcy Code.              In

summary, the proposed Settlement Agreement represents an advantageous result for the

Bankruptcy Estate and clearly falls within the range of reasonableness required under Justice

Oaks.

          23.   Finally, Trustee estimates that the proposed settlement will allow him to make a

meaningful, if not substantial distribution to holders of timely filed, non-priority, general

unsecured claims.

          24.   Under the standard set forth above and for the reasons previously detailed in this

motion, Trustee requests that the Bankruptcy Court approve the Settlement Agreement.




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         WHEREFORE, the Trustee respectfully requests that the Bankruptcy Court enter an

Order:

         a)     granting this settlement motion and approving the Settlement Agreement;

         b)     authorizing Trustee to take actions reasonably necessary to effectuate the terms

                of the Settlement Agreement; and

         c)     granting to Trustee such other and further relief as the Court deems just and

                appropriate.


         Respectfully submitted, this 11th day of December, 2020.

                                                    ARNALL GOLDEN GREGORY LLP
                                                    Attorneys for Trustee

                                                    By:/s/ Michael J. Bargar
171 17th Street, NW, Suite 2100                           Michael J. Bargar
Atlanta, GA 30363                                         Georgia Bar No. 645709
(404) 873-8500                                            michael.bargar@agg.com




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                             EXHIBIT “A” FOLLOWS




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                                CERTIFICATE OF SERVICE

         This is to certify that I have served a true and correct copy of the foregoing Motion to
Approve Settlement Agreement under Rule 9019 of the Federal Rules of Bankruptcy Procedure
by first class United States mail on the following persons or entities at the addresses stated:

Office of the United States Trustee                 Ian Falcone
362 Richard B. Russell Federal Building             The Falcone Law Firm, P.C.
75 Ted Turner Drive, SW                             363 Lawrence Street
Atlanta, GA 30303                                   Marietta, GA 30060

S. Gregory Hays                                     Will B. Geer
Hays Financial Consulting, LLC                      Wiggam & Geer, LLC
Suite 555                                           50 Hurt Plaza, SE
2964 Peachtree Road                                 Suite 1150
Atlanta, GA 30305                                   Atlanta, GA 30303

T. Owen Farist                                      Mighty Oak Group, LLC
GDCR                                                c/o Marcus Whitesides
49 Atlanta Street                                   1880 West Oak Parkway, Ste 103
Marietta, GA 30060                                  Marietta, GA 30062

                                                    Connie Sanders
                                                    1196 Lincoln Drive
                                                    Marietta, GA 30066




         This 11th day of December, 2020.

                                                           /s/ Michael J. Bargar
                                                           Michael J. Bargar
                                                           Georgia Bar No. 645709




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